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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

  Glenn Ford,                                   §
                                                §
                 Plaintiff                      §                Civil Action No. 5:15-cv-00544
         v.                                     §
                                                §
  Caddo Parish District Attorney's Office       §
  Former District Attorney Paul Carmouche,      §
  Current District Attorney Charles R. Scott,   §
  Assistant District Attorney A. Marty Stroud   §
  Assistant District Attorney Carey T. Schimpf  §
  Dr. George McCormick, City of Shreveport      §
  Detective Don Ashley, Detective Gary Alderman §
  Detective Pittman, Detective Rushing,         §
  Police Does 1 – 10,                           §
  and ABC Insurance Companies 1 – 10,           §
                 Defendants

   DEFENDANTS, DON ASHLEY, GARY ALDERMAN, GARY PITTMAN, EVERETT T.
    RUSHING, BILLY LOCKWOOD, FRANK DATCHER, GLYNN MITCHELL, AND
   RODNEY PRICE, MOTION FOR JUDGMENT ON THE PLEADINGS PURSUANT TO
                              RULE 12(c)

         NOW COMES, through undersigned counsel, Defendants, DON ASHLEY, GARY

  ALDERMAN, GARY PITTMAN, EVERETT T. RUSHING, BILLY LOCKWOOD, FRANK

  DATCHER, GLYNN MITCHELL, and RODNEY PRICE, who move to dismiss Plaintiff’s claims

  pursuant to Rule 12(c) as follows:

                                                    1.

         Plaintiff complains that in 1984 Glenn Ford was wrongly convicted of murder. The

  Defendants in the proceeding include former police officers Don Ashley, Gary Alderman, Gary

  Pittman, Everett T. Rushing, Billy Lockwood, Frank Datcher, Glynn Mitchell, and Rodney Price.

  Plaintiff mentions only four of the eight defendants by name, and refers to all of the above as “the law
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  enforcement defendants.” Plaintiff also included as a Defendant the Coroner and the Caddo Parish

  District Attorney.



                                                     2.

          Plaintiff makes allegations that are primarily directed to all defendants in globo, and with few

  exceptions makes only conclusory allegations. Even accepting Plaintiff’s well-pleaded allegations as

  true, Plaintiff has not stated a claim against the defendants, who are entitled to qualified immunity.

                                                     3.

          Defendants submit that Plaintiff’s claims against the Defendants should be dismissed pursuant

  to Rule 12(c) against each of those Defendants individually.

          WHEREFORE, Defendants, DON ASHLEY, GARY ALDERMAN, GARY PITTMAN,

  EVERETT T. RUSHING, BILLY LOCKWOOD, FRANK DATCHER, GLYNN MITCHELL,

  and RODNEY. PRICE, pray for an order dismissing Plaintiff’s Amended Complaint against these

  Defendants.

                                                  Respectfully submitted,


                                                  PETTIETTE, ARMAND, DUNKELMAN,
                                                  WOODLEY, BYRD & CROMWELL, L.L.P.

                                                  s/ Edwin H. Byrd, III____________________
                                                  Edwin H. Byrd, III, #19509
                                                  Zachary A. Wilkes, #36730
                                                  400 Texas Street, Ste. 400
                                                  Shreveport, LA 71101
                                                  Telephone: (318) 221-1800

                                                  Attorneys for Don Ashley, Gary Alderman, Gary
                                                  Pittman, Everett T. Rushing, Billy Lockwood, Frank
                                                  Datcher, Glynn Mitchell and Rodney Price
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                                          CERTIFICATE

         I hereby certify that a copy of the above and foregoing Motion was this date been served

  upon all counsel of record through electronic transmittal via the Court’s ECF system.

         Shreveport, Louisiana, this 27th day of March, 2019.

                                        s/ Edwin H. Byrd, III
                                           OF COUNSEL
